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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-1685-RM-NRN


  ROCKY MOUNTAIN GUN OWNERS,
  NATIONAL ASSOCIATION FOR GUN RIGHTS, and
  CHARLES BRADLEY WALKER,

          Plaintiffs,

  v.

  THE TOWN OF SUPERIOR, a Colorado municipality

          Defendant.

  ____________________________________________________________________________

            JOINT MOTION TO VACATE SCHEDULING CONFERENCE
  ____________________________________________________________________________

          Plaintiffs and Defendant submit the following Joint Motion to Vacate Scheduling

  Conference:

          1.      This action was filed on July 7, 2022.

          2.      On July 11, 2022, Magistrate Neureiter entered his “Order Setting

  Scheduling/Planning Conference and Setting Deadline for Filing of Consent/Non-Consent

  Form in which he set a scheduling conference for October 20, 2022 at 10:30 AM.

          3.      On July 13, 2022, Plaintiffs moved for a temporary restraining order and a

  preliminary injunction.

          4.      On July 23, 2022, the Court granted Plaintiff’s motion for a TRO in part and

  denied it in part.




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         5.      On July 29, 2022, the Court set a briefing schedule for Plaintiffs’ motion for

  preliminary injunction and scheduled a hearing on the motion for November 8 and 9, 2022.

         6.      The parties are now focusing their resources on briefing the preliminary

  injunction matter and preparing for the hearing. They agree that a scheduling conference in

  which a scheduling order would presumably be entered is premature and therefore the currently

  set scheduling conference should be vacated and reset once the Court rules on Plaintiffs’

  motion for preliminary injunction.

         7.      Accordingly, the parties jointly move the Court to enter an order that: (a)

  vacates the scheduling conference currently set for October 20, 2022; and (b) orders Plaintiffs

  counsel to reset the scheduling conference on notice within ten days of the Court’s order ruling

  on Plaintiff’s motion for preliminary injunction.

  Respectfully submitted this 9th day of August 2022.


   /s/ Barry K. Arrington                              /s/ Gordon L. Vaughan
   _______________________                             _______________________
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   Attorney for Plaintiffs                             Attorney for Defendant


                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 9, 2022, I electronically filed a true and correct copy of
  the foregoing with the Clerk of the Court using the CM/ECF system, which will send
  notification of such filing via email to parties of record.

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington

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